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				REVOCATION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2017 OK 33Decided: 05/01/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 33, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

RE: Revocation of Certificates of Certified Shorthand Reporters
ORDER
On February 15, 2017, this Court suspended the certificates of several certified shorthand reporters for failure to comply with the continuing education requirements for calendar year 2016 and/or with the annual certificate renewal requirements for 2017. See 2017 OK 21 (SCAD 2017-22).
The Oklahoma Board of Examiners of Certified Shorthand Reporters has advised that the court reporters listed below continue to be delinquent in complying with the continuing education and/or annual certificate renewal requirements, and the Board has recommended to the Supreme Court of the State of Oklahoma the revocation of the certificate of each of these reporters, effective April 15, 2017, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23.
IT IS THEREFORE ORDERED that the certificate of each of the certified shorthand reporters named below is hereby revoked effective April 15, 2017.


Shelly K. Brown

CSR # 1669


Sherry R. Brown

CSR # 1925


Rebecca A. Coffman

CSR # 1018


Kelley D. Dalton

CSR # 1919


M. Darlene Estes

CSR # 996


Brenda J. Goode

CSR # 1518


Vicky L. Hamilton

CSR # 1874


Connie L. Johnson

CSR # 1298


Charlotte A. Mathias

CSR # 1972


Angela S. Weaver

CSR # 1202


Kimala S. Woods

CSR # 1997




DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 1st day of MAY, 2017.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




	Citationizer© Summary of Documents Citing This Document
	
	
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	Oklahoma Supreme Court Cases
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&nbsp;2017 OK 21, RE: SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERSCited


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
